                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. 15-CR-54-LRR
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 ADAM AL HERZ,                                    RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On December 9, 2015, a twenty-one count Second Superseding Indictment was filed
against Defendant, Adam Al Herz. On March 10, 2016, Defendant appeared before
United States Chief Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts
45, 46 and 48 of the Second Superseding Indictment. On March 10, 2016, Judge Scoles
filed a Report and Recommendation in which he recommended that the court accept
Defendant’s guilty pleas. On March 10, 2016, Defendant filed a Waiver of Objections to
Report and Recommendation. The court, therefore, undertakes the necessary review of
Judge Scoles’s recommendation to accept Defendant’s pleas in this case.
                                   II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.




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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge must determine de novo any part of the
             magistrate judge's disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
March 10, 2016, and ACCEPTS Defendant’s pleas of guilty to Counts 45, 46 and 48 of
the Second Superseding Indictment.
      IT IS SO ORDERED.
      DATED this 10th day of March, 2016.




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